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                                 UNITED STATES DISTRICT COURT
                           IN AND FOR THE SOUTHERN DISTRICT OF IOWA
                                       (CENTRAL DIVISION)


MIRANDA NICOLAI,
                                                              Case No. 4:21-cv-00038
Plaintiff,

vs.                                                                 ANSWER AND AFFIRMATIVE
                                                                          DEFENSES
LUKE HASTIE; CHAD NICOLINO; DANA
WINGERT, and CITY OF DES MOINES,

Defendants.


             COME NOW Defendants and in and provides the following Answer to the Plaintiff's Petition

  provide the following responses and Affirmative Defenses:

                                                  PARTIES

             1.       Defendants can neither admit nor deny Paragraph 1 of the Petition.

             2.       Admit.

             3.       Admit.

             4.       Admit.

             5.       Admit.

                                       JURISDICTION AND VENUE

             6.       Admitted, but now irrelevant.

             7.       Admitted, but now irrelevant.

             8.       Defendants can neither admit nor deny Paragraph 8 of the Plaintiff's Petition.

                                 GENERAL FACTUAL ALLEGATIONS

             9.       This is not a statement of fact but an opinion, notwithstanding denied to the extent

  this statement is applied to the Des Moines Police Department or the named Defendants.


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       10.    This is not a statement of fact but an opinion, notwithstanding denied to the extent

this statement is applied to the Des Moines Police Department or the named Defendants.

       11.    Admitted.

       12.    Admitted.

       13.    Defendants can neither admit nor deny Paragraph 13 of the Petition.

       14.    Defendants can neither admit nor deny Paragraph 14 of the Petition.

       15.    Denied.

       16.    Denied.

       17.    Admitted in part in that some law enforcement officers were in such apparel, but

not all were, nor were all individuals present with law enforcement, Des Moines Police Officers.

       18.    Denied.

       19.    Defendants can neither admit nor deny Paragraph 19 of the Petition.

       20.    Denied.

       21.    Denied.

       22.    Defendants can neither admit nor deny Paragraph 22 of the Petition.

       23.    Denied.

       24.    Denied.

       25.    Denied.

       26.    Denied.

       27.    Defendants can neither admit nor deny Paragraph 27 of the Petition, nor were all

law enforcement officers present on that evening Des Moines Police Officers.

       28.    Denied.

       29.    Denied.



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       30.    Defendants can neither admit nor deny Paragraph 30 of the Petition.

       31.    Denied.

       32.    Defendants can neither admit nor deny Paragraph 32 of the Petition.

       33.    Denied.

       34.    Denied.

       35.    Denied.

       36.    Defendants can neither admit nor deny Paragraph 36 at this time.

       37.    Denied.

       38.    Denied.

       39.    Denied.

       40.    Defendants can neither admit nor deny Paragraph 40 of the Petition.

       41.    Denied.

       42.    Defendants can neither admit nor deny Paragraph 42 at this time.

       43.    Defendants can neither admit nor deny Paragraph 43 of the Petition.

       44.    Defendants can neither admit nor deny Paragraph 44 of the Petition, further the

Des Moines Police Department and the City of Des Moines do not control the Polk County Jail.

       45.    Denied.

       46.    Denied.

       47.    Defendants can neither admit nor deny Paragraph 47 of the Petition at this time,

further not all law enforcement officers present were necessarily Des Moines Police Officers.

       48.    Denied.

       49.    Objection as argumentative, notwithstanding said objection, admitted as no

officer has been charged, nor should they have been.



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        50.     Denied.

        51.     Objection as argumentative, notwithstanding said objection no officer made such

a report.

        52.     Defendants can neither admit nor deny Paragraph 52 of the Petition.

        53.     Defendants can neither admit nor deny Paragraph 53 of the Petition.

        54.     Defendants can neither admit nor deny Paragraph 54 of the Petition.

        55.     Defendants can neither admit nor deny Paragraph 55 of the Petition.

        56.     Denied, further named defendants did not make charging decisions but were

directed by the Polk County Attorney's Office.

        57.     Denied, further irrelevant and did not include named defendants.

        58.     Defendants can neither admit nor deny Paragraph 58 of the Petition.

        59.     Defendants deny the initial statement as speculative but admit that the charges

lodged against the Plaintiff on June 1, 2020 are accurate.

        60.     Admitted.

        61.     Admitted in part, denied in part as not all of the request was granted.

        62.     Defendants can neither admit nor deny Paragraph 62 of the Petition, further this is

not the responsibility of the City of Des Moines but of the Polk County Attorney's Office.

        63.     Admitted.

        64.     Defendants can neither admit nor deny Paragraph 64 of the Petition, further this is

not the responsibility of the City of Des Moines, but the Polk County Attorney's Office.

        65.     Defendants can neither admit nor deny Paragraph 65 of the Petition, further this is

not the responsibility of the City of Des Moines, but the Polk County Attorney's Office.

        66.     Denied.



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       67.      Defendants can neither admit nor deny Paragraph 67 of the Petition.

       68.      Denied.

       69.      Denied.

       70.      Denied.

       71.      Denied.

       72.      Denied.

       73.      Denied.

       74.      Denied.

       75.      Denied.

       76.      Denied.

       77.      Denied.

       78.      Denied.

       79.      Denied.

       80.      Denied as argumentative, admit officers arrested three individuals near Blazing

Saddle after several orders to disburse.

       81.      Denied.

       82.      Denied as to these being the only permissible uses of OC spray, nor does the cited

case so hold.

       83.      Denied, the plaintiff's alleged interpretation misstates the cited case.

       84.      Admitted.

       85.      Admitted.

       86.      Admitted as long as the officer is position should have known that their conduct

violated clearly established constitutional rights by following said order.



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                                     CAUSES OF ACTION

                         COUNT 1 – Illegal Seizure Fourth Amendment

       87.     Defendants can neither admit nor deny this paragraph.

       88.     Denied.

       89.     Denied.

       90.     Denied.

       91.     Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

                         COUNT 2 – Illegal Seizure Iowa Constitution

       92.     Defendants can neither admit nor deny this paragraph.

       93.     Denied.

       94.     Denied.

       95.     Denied.

       96.     Denied.

       97.     Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

                      COUNT 3 – Excessive Force – Fourth Amendment

       98.     Defendants can neither admit nor deny this paragraph.

       99.     Denied.

       100.    Denied.

       101.    Denied.



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       102.    Denied.

       103.    Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.



                       COUNT 4 – Excessive Force – Iowa Constitution

       104.    Defendants can neither admit nor deny this paragraph.

       105.    Denied.

       106.    Denied.

       107.    Denied.

       108.    Denied.

       109.    Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

                         COUNT 5 – Retaliation for First Amendment

       110.    Defendants can neither admit nor deny this paragraph.

       111.    Defendants can neither admit nor deny this paragraph for lack of information.

       112.    Denied.

       113.    Denied.

       114.    Denied.

       115.    Denied.

       116.    Denied.

       117.    Denied.



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       118.    Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

                      COUNT 6 –Retaliation Iowa Constitution Art. 1, §7

       119.    Defendants can neither admit nor deny this paragraph.

       120.    Defendants can neither admit nor deny this paragraph for lack of information.

       121.    Denied.

       122.    Denied.

       123.    Denied.

       124.    Denied.

       125.    Denied.

       126.    Denied.

       127.    Denied.

       128.    Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

COUNT 7 – Deliberately Indifferent Police, Practices, Customs, Training and Supervision
under the Federal Constitution

       129.    Defendants can neither admit nor deny this paragraph.

       130.    Admitted.

       131.    Admitted.

       132.    Admitted.

       133.    Admitted.

       134.    Denied.


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       135.    Denied.

       136.    Denied.

       137.    Denied.

       138.    Denied.

       139.    Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

COUNT 8 – Deliberately Indifferent Police, Practices, Customs, Training and Supervision
under the Iowa Constitution

       140.    Defendants can neither admit nor deny this paragraph.

       141.    Admitted.

       142.    Admitted.

       143.    Admitted.

       144.    Denied.

       145.    Denied.

       146.    Denied.

       147.    Denied.

       148.    Denied.

       149.    Denied.

       150.    Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

                    COUNT 9 – Intentional Infliction of Emotional Distress

       151.    Defendants can neither admit nor deny this paragraph.


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       152.    Denied.

       153.    Denied.

       154.    Denied.

       155.    Denied.

       156.    Denied.

       157.    Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

                              COUNT 10 – Malicious Prosecution

       158.    Defendants can neither admit nor deny this paragraph.

       159.    Admitted.

       160.    Admitted.

       161.    Denied.

       162.    Denied.

       163.    Denied.

       164.    Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

                           COUNT 11 – False Arrest/Imprisonment

       165.    Defendants can neither admit nor deny this paragraph.

       166.    Admitted.

       167.    Denied.

       168.    Denied.



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       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

                                           COUNT 12 – Libel

       169.    Defendants can neither admit nor deny this paragraph.

       170.    Denied.

       171.    Denied.

       172.    Denied.

       173.    Denied.

       174.    Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

                                COUNT 13 – Assault and Battery

       175.    Defendants can neither admit nor deny this paragraph.

       176.    Denied.

       177.    Denied.

       178.    Denied.

       179.    Denied.

       WHEREFORE, the Defendants pray for judgment against the plaintiff and an entry of

costs against Plaintiff upon this count.

                                  AFFIRMATIVE DEFENSES

COMES NOW, the Defendants and state the following affirmative defenses:

       1. The Plaintiff fails to state a claim upon which relief can be granted.




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        2. All named Defendants have qualified immunity from suit under the Federal

Constitution as their actions were reasonable from their perspective at the time and/or in good

faith and/or did not violate well-settled law.

        3. The Defendants are immune pursuant to Iowa Code Chapter 670.

        4. The individually named Defendants did not detain, handcuff, or arrest the Plaintiff nor

were they present at the time this occurred.

        5. The Defendants had reasonable suspicion and/or probable cause to suspect the

plaintiffs were engaged in criminal activity in reliance of reports by other law enforcement

officers.

        6. Defendant City of Des Moines cannot be found liable for punitive damages.

        7. The individual defendants did not act recklessly, maliciously nor willfully in violation

of the Plaintiff's rights.

        8. The Plaintiffs will not be able to establish the City of Des Moines had a custom, policy

or practice that violated the Plaintiff’s or any citizen’s constitutional rights in regard to the issues

asserted in Plaintiff’s Complaint.

        9. The Plaintiffs will not be able to establish of a pervasive pattern of unconstitutional

conduct on the part of the City of Des Moines in the hiring and/or retention nor training of police

officers or in regard to any other matter asserted in his Complaint.

        10. The Defendants reserve the right to supplement their affirmative defenses as

discovery continues in this case.


                                                 Respectfully submitted,


                                                    /s/ John O. Haraldson



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                                            ATTORNEY FOR DEFENDANTS




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 9, 2021, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system and a true copy of the foregoing
was electronically sent via the Clerk of Court and plaintiffs’ counsel.


                                                              /s/ John O. Haraldson
                                                           John O. Haraldson
                                                           Assistant City Attorney




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